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October 30,2019

Dear Customer:

The following is the proof-of-delivery for tracking number 776843696229.


Delivery Information:
Status:                     Delivered                    Delivered to:                   Residence
Signed for by:              E.ERICA                      Delivery location:              9979 NW 89TH TER
                                                                                         MIAMI, FL 33178
Service type:               FedEx Standard Overnight     Delivery date:                  Oct 30, 2019 13:19
Special Handling:           Deliver Weekday

                            Residential Delivery




Shipping Information:
Tracking number:            776843696229                 Ship date:                      Oct 29, 2019
                                                         Weight:                         0.5 lbs/0.2 kg



Recipient:                                               Shipper:
Moinica Ortigoza                                         AUSA Adrienne Rosen
9979 NW 89TH TER                                         US Attorneys Office S.Distric
MIAMI, FL 33178 US                                       99 NE 4th St., Ste 700
                                                         Miami, FL 33132 US
Reference                                                AER: 19-62616CvRKA


Thank you for choosing FedEx.
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  After printing this label:
  1. Use the 'Print' button on this page to print your label to your laser or inkjet printer.
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  3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned.

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 of sales, income interest, profit, attorney's fees, costs, and other forms of damage whether direct, incidental.consequential, or special is
 limited to the greater of $100 or the authorized declared value. Recovery cannot exceed actual documented loss.Maximum for items of
 extraordinary value is $1,000, e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written
 claims must be filed within strict time limits, see current FedEx Service Guide.




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                                                                             U.S. Department of Justice


                                                                             United States Attorney
                                                                             Southern District of Florida


                                                         99 N.E. 4th Street
                                                         Miami, FL 33132
                                                         (305) 961-9338- Telephone
                                                         (305) 530-7950- Facsimile




                                                         October 28, 2019


   VIA FEDERAL EXPRESS

   Moinica Ortigoza
   9979 NW 89 Terrace
   Doral, FL 33178

   Re:    United States of America v. 1984 Cessna 550 Citation II Jet Aircraft
          with serial number S550-0020 and registration number YV 3325;
          Civil Case No. 19-CV-62616-Altman/Hunt

   Dear Ms. Ortigoza:

           This letter provides direct notice of the above-referenced civil forfeiture action. Enclosed
   please find a copy of the verified complaint, arrest warrant in rem, and related documents filed for
   one 1984 Cessna 550 Citation II Jet Aircraft with serial number S550-0020 and registration
   number YV 3325 (the "Defendant Property").

           Under the provisions of Rule G of the Supplemental Rules for Admiralty or Maritime
   Claims and Asset Forfeiture Actions (the "Supplemental Rules"), a person asserting an interest in
   the Defendant Property must file a verified claim within 35 days of October 28, 2019, the date this
   letter was sent. The verified claim must (A) identify the specific property claimed; (B) identify
   the claimant and sate the claimant's interest in the property; and (C) be signed by the claimant
   under penalty of perjury. An answer or motion under Rule 12 of the Federal Rules of Civil
   Procedure must be filed no later than 21 days after filing the claim.

          The claim, answer, and/or responsive pleading should be filed with the Clerk of the Court,
   United States District Court for the Southern District of Florida, 400 North Miami Avenue, Florida
   33128, and a copy of each filing must also be served upon the undersigned government counsel,
   Adrienne Rosen, Assistant United States Attorney, 99 N.E. 4th Street, Miami, Florida 33132.
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           Upon the failure of the owner, possessor or any party claiming an interest in the Defendant
   Property to comply with Rule G of the Supplemental Rules, the Defendant Property may be
   forfeited to the United States by default and without further notice or hearing.

                                                Sincerely,

                                                ARIANA FAJARDO RSHAN
                                                UNITED STAT    TORNEY


                                         BY:
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.:

   UNITED STATES OF AMERICA,

                  Plaintiff,

   vs.

   1984 CESSNA 550 CITATION II JET
   AIRCRAFT WITH SERIAL NO. S550-0020
   AND REGISTRATION NO. YV3325

                  Defendant In Rem.
   - - - - - - -- -- - -- - - - -I
                      VERIFIED COMPLAINT FOR FORFEITURE IN REM

          Plaintiff, United States of America, by and through the undersigned Assistant United States

   Attorney for the Southern District of Florida, hereby files this civil complaint for forfeiture in rem

   and alleges as follows:

           1.     This is a civil action in rem for the forfeiture of one 1984 Cessna 550 Citation II Jet

   Aircraft with serial number S550-0020 and registration number YV 3325 ("Defendant Aircraft"),

   currently located at the Fort Lauderdale Executive Airport.

          2.      The Court has jurisdiction over this subject matter pursuant to Title 28, United

   States Code, Sections 1345 and 1355.

          3.      The Court has in rem jurisdiction over the Defendant Aircraft pursuant to Title 28,

   United States Code, Section 1355.

          4.      The Court has venue over this action pursuant to Title 28, United States Code,

   Sections 1355 and 1395.
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                                     FACTUAL ALLEGATIONS

           5.     On or about September 20, 2019, the Defendant Aircraft arrived at Fort Lauderdale

   Executive Airport from Caracas, Venezuela. On board were two Venezuelan nationals, Victor

   Fossi Grieco (the "Pilot") and Jean Carlos Sanchez Rojas (the "Passenger"), among other persons.

          6.      The Pilot told United States Customs and Border Protection ("CBP") officers that

   he did not have anything to declare. The Passenger declared that he and his wife were carrying

   $24,000 in United States currency, but did not declare any other items.

          7.      CBP officers conducted an examination of the Defendant Aircraft at Fort

   Lauderdale Executive Airport, during which one officer observed loose rivets and missing screws

   on the nose compartment of the Defendant Aircraft. Upon further examination inside the nose

   compartment of the Defendant Aircraft, the officers discovered a concealed compartment, also

   known as a "trap," underneath flat sheet metal. The trap held bags containing gold bars that

   weighed approximately 230 pounds.

          8.      The Pilot and the Passenger admitted that they collected the gold bars in Venezuela

   to smuggle into the United States for a fee. They also admitted that they knew they had to declare

   the gold bars upon arrival in the United States, but chose not tb do so.

          9.      The Pilot and Passenger were subsequently arrested and charged by indictment in

   the Southern District of Florida with violations of Title 18, United States Code, Sections 542 and

   545, and conspiracy to commit a violation of Title 18, United States Code, Section 545, in criminal

   case number 19-60280-CR-ALTONAGA/SELTZER.

           10.    Lab analysis shows that the gold bars contained in the Defendant Aircraft weighed

   approximately 230 pounds, with an average purity of approximately 91.39 percent, and an

   approximate value of $4,611,363.66.



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           11.      The Defendant Aircraft is currently at Fort Lauderdale Executive Airport.

                                   LEGAL BASIS FOR FORFEITURE

           12.      Title 19, United States Code, Section 1595a(a) subjects to forfeiture

                    every vessel, vehicle, animal, aircraft, or other thing used in, to aid in, or to
                    facilitate, by obtaining information or in any other way, the importation,
                    bringing in, unlading, landing, removal, concealing, harboring, or
                    subsequent transportation of any article which is being or has been
                    introduced, or attempted to be introduced, into the United States contrary to
                    law, whether upon such vessel, vehicle, animal, aircraft, or other thing or
                    otherwise, may be seized and forfeited together with its tackle, apparel,
                    furniture, harness, or equipment.

          13.       Title 18, United States Code, Section 542 makes it unlawful to knowingly and

   intentionally attempt to introduce into the commerce of the United States imported merchandise

   by means of a fraudulent and false declaration, paper, and statement.

          14.       Title 18, United States Code, Section 545 makes it unlawful to knowingly and

   willfully, with the intent to defraud the United States, attempt to smuggle and clandestinely

   introduce into the United States, from a place outside thereof, any merchandise which should have

   been invoiced.

                                       CLAIM FOR FORFEITURE

          15.       The factual allegations in paragraphs 1 through 14 are realleged and incorporated

   by reference herein.

           16.      The Defendant Aircraft is subject to forfeiture pursuant to Title 19, Untied States

   Code, Section 1595a(a), as an aircraft used in, to aid in, or to facilitate, the importation, bringing

   in, unlading, landing, removal, concealing, or harboring gold bars, in an attempt to introduce them

   into the United States contrary to law.




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             WHEREFORE, the United States requests that this Honorable Court issue a warrant for

   arrest in rem for Defendant Aircraft; that due notice issue to enforce the forfeiture and to give

   notice to all interested parties to appear and show cause why the forfeiture should not be decreed;

   that the Defendant Aircraft be condemned and forfeited to the United States of America for

   disposition according to law; and for such other and further relief as this Court may deem just and

   proper.

                                                Respectfully submitted,

                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES  TORNEY


   DATE:      10/z.1 /J 1                BY:
                                                  arienne . Rosen
                                                Assistant United States Attorney
                                                Court Id. No. A5502297
                                                U.S. Attorney's Office
                                                99 NE 4th Street, 7th Floor
                                                Miami, Florida 33132-2111
                                                Telephone: (305) 961-9338
                                                Facsimile: (305) 536-4089
                                                Adrienne.Rosen@usdoj.gov




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                                             VERIFICATION

             I, Catherina Birkeland, hereby verify and declare under penalty of perjury, pursuant to 28

     U.S .C. § 1746, that I am a Special Agent with Homeland Security Investigations (the "HSI"), that

     I have read the foregoing Verified Complaint for Forfeiture In Rem ("Verified Complaint") and

     know the contents thereof, and the matters contained in the Verified Complaint are true to my own

     knowledge, except that those herein stated to be alleged on information and belief and as to those

     matters I believe to be true.

            The sources ofmy knowledge and information and the grounds ofmy belief are the official
                       I



     files and records of the United States, information supplied to me by other law enforcement

     officers, as well as my investigation of this case, together with others, as a Special Agent of the

     HSI.

            I hereby verify and declare under penalty of perjury that the foregoing factual allegations

     are true and coITect to the best of my knowledge and belief.

            EXECUTED, on this 21 51 day of October, 2019.




                                                  Catherina Birkeland
                                                  Special Agent
                                                  Homeland Security Investigations




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JS 44 (Rev. 06/ 17) FLSD Revised 06/0 1/20 17                                              CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
prov1_d_ed_by local_ rules of court. This form , approved by the Judicial Conference of the Un ited States in September 1974, is required for the use of the Clerk of Court for the purpose
of 1mtiating the CIVIi docket sheet (SEE INS TRUC TIONS ON NEXT PAGE OF 1HIS FORM) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a)        PLAINTIFFS UNITED STATES OF AMERICA                                                                      DEFENDANTS 1984 Cessna 550 Citation II Jet Aircraft with
                                                                                                                                  Serial No. S550-0020 & Registration No. YV3325

      (b) County of Residence of First Listed Plaintiff                                                                County of Residence of First Listed Defendant
                                      (EXCEPT IN U. S. PLAINTIFF CASES)                                                                               (IN U. S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE:                      IN LAND CONDEMN ATION CASES, USE THE LOC ATION OF
                                                                                                                                                  THE TRACT OF LAND INVOLVED .
      (C)    Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)




( d) Check County Where Action Arose:                D MIAMI- DADE       D MONROE          ¢   BROWARD D PALM BEACH D MART IN D ST. LUCIE              D INDI AN RIVER D OKEECHOBEE D HIGHLANDS


II. BASIS OF JURISDICTION                              (Place an "X" in One Box Only)                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X " in One Box/or Plainti}J)
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lZJ    I    U.S. Govemment                 0 3                   Federal Question                                                             PTF       DEF                                                 PTF      DEF
              Plaintiff                             (U.S. Government Not a Party)                            Citizen of This State            D   I     DI         Incorporated or Principal Place          D    4   D4
                                                                                                                                                                   of Business In This State

D      2    U.S. Government                04                        Diversity                               Citizen of Another State         0   2     D     2    Incorporated and Principal Place         D    5   D     5
               Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                                     of Business In Another State

                                                                                                             Citizen or Subject of a          0   3     D     3    Foreign Nation                           D    6   D     6
                                                                                                               Foreign Country
IV. NATURE OF SUIT                        (Place an "X " in One Box Only)                                   Click here for: Nature of Suit Code Desc riptio ns
              CONTRACT                                             TORTS                                         FORFEITURE/PENALTY                        BANKRUPTCY                            OTHER STATUTES
D 110 Insurance                              PERSONAL INJURY                    PERSONAL INJURY              D 625 Drug Related Seizure           0 422 Appeal 28 USC 158               D    375 False Claims Act
D 120 Marine                             D   3 10 Airplane                  D   365 Personal Injmy -               of Property 21 USC 881         D 423 Withdrawal                      0    376 Q ui Tam (3I USC
D 130 Mi ller Act                        D   315 Airplane Product                   Product Liability        ~ 690 Other                                28 USC 157                             3729 (a))
D 140 Negotiable Instrnment                       Liability                 D   367 Health Care/                                                                                        D    400 State Reapportionment
D 150 Recovery of Overpayment            D   320 Assault, Libel &                     Pharmaceutica l                                                PROPERTY RIGHTS                    D    410 Antitrust
           & Enforcement of Judgment              Slander                             Personal Injmy                                              D 820 Copyrights                      D    430 Banks and Banking
D 15 I Medicare Act                      D   330 Federal Employers'                   Product Liability                                           D 830 Patent                          D    450 Commerce
D 152 Recovery of Defaulted                      Liability                  D   368 Asbestos Personal
                                                                                                                                                  D 835 Patent - Abbreviated            D    460 Deportation
                                                                                                                                                    New Drug Application
          Student Loans                  D 340 Marine                              lnjtuy Product                                                 D 840 Trademark                       D    4 70 Racketeer Influenced and
          (Exe I. Veterans)              D 345 Marine Product                      Liability                              LABOR                       SOCIAL SECURITY                        Corrupt Organizations
D     153 Recovery of Overpayment                Liability                   PERSONAL PROPERTY               D   710 Fair Labor Standards         0 861 HIA(l395ff)                     D    480 Consumer Credit
          of Veteran's Benefits          D 350 Motor Vehicle                D 370 Other Fraud                         Act                         D 862 Black Lung (923)                0    490 Cable/Sat TV
D     160 Stockholders ' Suits           D 355 Motor Vehicle                D 37 I Truth in Lending          D   720 Labor/Mgmt. Relations        0 863 DIWC/DIWW (405(g))              D    850 Securities/Commodities/
D     190 Other Contract                        Product Liability           D 380 Other Personal             D   740 Railway Labor Act            0 864 SSID Title XV I                      Exchange
D     195 Contract Product Liability     D 360 Other Personal                      Property Damage           D   751 Family and Medical           0 865 RSI (405(g))                    D    890 Other Statutory Actions
D     196 Franchise                             Inj ury                     D 385 Property Damage                     Leave Act                                                         D    891 Agricultural Acts
                                         D 362 Personal lnjmy -                    Product Liability         D   790 Other Labor Litigation                                             D    893 Envirorunental Matters
                                               Med. Malpractice                                              D   79 1 Empt. Ret. Inc.                                                   D    895 Freedom o f Information
           REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS                       Security Act                      FEDERAL TAX SUITS                     Act
0      2 10 Land Condemnation            D 440 Other Ci vil Rights            Habeas Corpus:                                                      D 870 Taxes (U .S.   Plaintiff        D    896 Arbitration
D      220 Foreclosure                   0 44 1 Voting                      D 463 Alien Detainee                                                            or Defendant)               D    899 Admi nistrative Procedure
D      230 Rent Lease & Ejectment        D 442 Employment                   D ~~~te~~tions to Vacate                                              D   t7slc ifos- Third Party 26
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D      240 Torts to Land                 D !,~~:~':,"~d~!ions                         Other:                                                                                                 Agency Decision
D      245 Tort Product Liability        D 445 Amer. w/Disab ilities - D        530 General                           IMMIGRATION                                                       D    ~i~u~~nstitutionali ty of State
D      290 Al l Other Real Property            Employment              D        535 Death Penalty            D 462 Naturalization Application
                                         D 446 Amer. w/Disabilities - D         540 Mandamus & Other         D 465 Other Immigration
                                               Other                   D        550 Civil Rights                     Actions
                                         D 448 Education               D        555 Prison Condition
                                                                                560 Civil Detainee -
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V. ORIGIN                       (Place an "X " in One Box Only)
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VI. RELATED/                                   (See instructions): a) Re -filed Case               DYES ,ti NO                 b) Related Cases ..r:'J YES o NO
RE-FILED CASE(S)                                                 JUDGE:         AL TONA GA                                                                  DOCKET NUMBER:               19-60280CrCMA
                                               C ite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional st"tutes unless diversity) :
VII. CAUSE OF ACTION 19 USC§ 1595a(a) Aiding unlawful importation contrary to laws of the United States
                                               LENGTH OF TRIAL via                3      days estimated (for both sides to try entire case)
VIII. REQUESTED IN                             D   CHECK IF THIS IS A CLASS ACTION                               DEMAND$                                      CHECK YES only if demanded in compla int:
     COMPLAINT:                                    UNDER F.R.C.P. 23
                                                                                                                                                          JURY DEMAND:                       D   Yes       £]   No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST
DATE
            October 21, 2019

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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. :

   UNITED STATES OF AMERICA,

                  Plaintiff,

   vs.

   1984 CESSNA 550 CITATION II JET
   AIRCRAFT WITH SERIAL NO. S550-0020
   AND REGISTRATION NO. YV3325,

                  Defendant In Rem.
   - - - - - - -- - - -- - - - -I
                               CIVIL COMPLAINT COVER SHEET


          1.      Did this matter originate from a matter pending in the Northern Region of the

   United States Attorney's Office prior to October 14, 2003 ?            Yes   X     No

          2.      Did this matter originate from a matter pending in the Central Region of the United

   States Attorney's Office prior to September 1, 2007?   ---      Yes     X    No



                                                Respectfully submitted,




                                        BY:



                                                U.S. Attorney's Office
                                                99 NE 4th Street, 7th Floor
                                                Miami, Florida 33132-2111
                                                Telephone: (305) 961-9338
                                                Facsimile: (305) 536-4089
                                                Adrienne.Rosen@usdoj.gov
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.:

    UNITED STATES OF AMERICA,

                   Plaintiff,

    vs.

    1984 CESSNA 550 CITATION II JET
    AIRCRAFT WITH SERIAL NO. S550-0020
    AND REGISTRATION NO. YV3325,

                   Defendant In Rem.
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                      APPLICATION FOR WARRANT OF ARREST IN REM

           The United States of America, through the undersigned Assistant United States Attorney,

    respectfully requests that this Court issue the attached Warrant of Arrest in Rem pursuant to Rule

    G(3)(b(ii) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

    Actions. In support of its application, the United States provides the following basis:

           1.      On October 21 , 2019, the United States filed a verified complaint for civil forfeiture

    in rem (the "Verified Complaint") in the above-referenced case. The Verified Complaint seeks

    the forfeiture of a 1984 Cessna 550 Citation II Jet Aircraft with serial number S550-0020 and

    registration number YV3325 (the "Defendant Aircraft").

           2.      The Defendant Aircraft is not presently in the possession, custody or control of the

    United States and is not presently subject to any judicial restraining order.

           3.      Supplemental Rule G(3)(b)(ii) provides that if property is subject to forfeiture in a

    civil forfeiture case, and the property is not in the Government's possession, custody or control

    and is not subject to a judicial restraining order, the Court, on a finding of probable cause, must
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    issue a warrant to arrest the property.

            4.     The facts supporting the finding of probable cause to believe that the Defendant

    Aircraft is subject to forfeiture are set forth in the Verified Complaint.

            WHEREFORE, the United States respectfully requests that this Court find that there is

    probable cause to believe the Defendant Aircraft is subject to forfeiture, and issue the proposed

    warrant of arrest in rem directing Homeland Security Investigations to seize the Defendant

    Aircraft.



                                                    Respectfully submitted,

                                                    ARIANA FAJARDO ORSHAN
                                                    UNITED STATES A  RNEY


                                              BY:



                                                    U.S. Attorney's Office
                                                    99 NE 4th Street, 7th Floor
                                                    Miami, Florida 33132-2111
                                                    Telephone: (305) 961-9338
                                                    Facsimile: (305) 536-4089
                                                    Adrienne.Rosen@usdoj.gov




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.:

    UNITED STATES OF AMERICA,

                    Plaintiff,

    vs.

    1984 CESSNA 550 CITATION II JET
    AIRCRAFT WITH SERIAL NO. S550-0020
    AND REGISTRATION NO. YV3325,

                    Defendant In Rem.
    - - - - -- - -- - -- - - - -- I
                                   WARRANT OF ARREST IN REM

    TO:     HOMELAND SECURITY INVESTIGATIONS OR ANY OTHER AUTHORIZED
            FEDERAL LAW ENFORCEMENT OFFICER

           WHEREAS, on October 21 , 2019 the United States of America filed a Verified Complaint

    for Forfeiture in Rem against the above-captioned defendant property (the "Defendant Aircraft");

    and

           WHEREAS, according to the Verified Complaint, the Defendant Aircraft is not in the

    government's possession, custody or control, and is not subject to a judicial restraining order; and

           WHEREAS, Supplemental Rule G(3)(b )(ii) provides that "the court-on finding probable

    cause- must issue a warrant to arrest the property if it is not in the government's possession,

    custody, or control and is not subject to a judicial restraining order."

           NOW THEREFORE, you are hereby commanded to take the Defendant Aircraft into

    your possession for safe custody. If the character or situation of the property is such that the taking

    of actual possession is impracticable, you shall execute this process by affixing a copy thereof to

    the property in a conspicuous place and by leaving a copy of the Complaint and process with the
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    person having possession or his agent.

           YOU ARE FURTHER commanded to cite and admonish the owner and/or possessor of

    the Defendant property and any person or firm known to claim any interest therein, to file, no later

    than 35 days from the date notice was sent, a Verified Claim in accordance with Rule G(5), of

    the Supplemental Rules for Certain Admiralty and Maritime Claims; to therewith or within twenty

    (20) days thereafter file an Answer or other responsive pleading to the Complaint, a copy of which

    Complaint you shall supply with this Warrant; to file the Claim and Answer or other responsive

    pleading with the Clerk of the Court, United States District Court, 400 North Miami Avenue,

    Florida 33128 and to send a copy of said Claim, Answer or responsive pleading, to

    Adrienne Rosen, Assistant United States Attorney 99 N.E. 4th Street, Miami, Florida 33132;

    the Claim must identify the specific property claimed, identify the claimant and state the claimant's

    interest in the property and be signed by the claimant under penalty of perjury, and that upon the

    failure of the owner, possessor or any party claiming an interest in the Defendant property to

    comply with Supplemental Rule G, the Defendant property may be forfeited to the United States

    by default and without further notice or hearing.

           AND YOU ARE FURTHER commanded to make due and prompt return of this Warrant

    to this Court upon its execution.




    DATED: - - - -                                BY:
                                                            THE HONORABLE
                                                            UNITED STATES DISTRICT JUDGE

    cc: AUSA Adrienne Rosen (2 certified copies)



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